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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )          8:08CR151
                                            )
             Plaintiff,                     )
                                            )            ORDER
v.                                          )
                                            )
OSCAR COLMENARES RODRIGUEZ,                 )
COLMENARES RODRIGUEZ, INC.,                 )
                                            )
             Defendants.                    )



      UPON THE ORAL MOTION OF THE DEFENDANTS,

       IT IS ORDERED that the Change of Plea hearing is continued to May 26, 2009
at 10:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between May 18, 2009 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 18th day of May, 2009.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
